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  8                                                     ; Air Turbine Technology, Inc. v. Atlas
  9   Copco AB, 410 F.3d 701 (Fed. Cir. 2005) (summary judgment granted in favor of
 10   defendant because plaintiff failed to prove its lost sales were the result of
 11   defendant’s advertisements.]
 12            34.
 13
 14
 15
      [Disputed that the DMV.ORG website violates the Lanham Act and/or that injunctive
 16
      relief is necessary or appropriate.]
 17
               E.        Legal Conclusions Regarding Monetary Remedies under the
 18
                         Lanham Act
 19
               35.
 20
 21
 22
 23
 24
 25
 26
 27
      [Plaintiffs conveniently omit citation to some provisions of section 1117 that this
 28
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  1   Court might find relevant, including: (i) "the court may in its discretion enter
  2   judgment for such sum as the court shall find to be just, according to the
  3   circumstances of the case;" and (ii) "[s]uch sum in either of the above circumstances
  4   shall constitute compensation and not a penalty." Because Plaintiffs have failed to
  5   carry their burden to show any actual injury, and because of their own unclean
  6   hands and laches, they are not entitled to any award of Online Guru's profits.]
  7            36.
  8                       Gracie v. Gracie, 217 F.3d 1060, 1068 (9th Cir. 2000) ( “[a]
  9   showing of actual confusion is not necessary to obtain a recovery of profits” ).
 10
      [Plaintiffs seriously mislead this Court with their reference to Gracie, supra, for the
 11
      proposition that profit's may be awarded without proof of actual injury. Gracie, a
 12
      trademark case, only says that absence of actual confusion is no bar to an award of
 13
      profits to the owner of a mark. Profits awards in trademark infringement cases are
 14
      more common, perhaps in part because the injury is to the goodwill of the
 15
      plaintiff-owner of the mark, not to competitors in general (Plaintiffs in this case are
 16
      not even members of that broader group). Sugai Products, Inc. v. Kona Kai Farms,
 17
      Inc., 1997 WL 824022, *12 (D. Hawaii 1997) (the fact of injury is an element of
 18
      liability with regard to the Lanham Act which must be proven); Bandag, Inc. v. Al
 19
      Bolser's Tire Stores, Inc., 750 F.2d 903, 919 (Fed. Cir. 1984) ("accounting [of
 20
      profits] . . . is not automatic, and may be denied . . . , where there has been no
 21
      showing of fraud . . . , or where . . . 'careful examination of the record fails to reveal
 22
      . . . that [plaintiff] has lost substantial business and profits as a result of
 23
      [defendant's] unfair competition.'"); Holmes Group, Inc. v. RPS Products, Inc., 424
 24
      F.Supp.2d 271, 292 (Mass. 2006) (summary judgment in favor of defendant granted
      on plaintiff’s claims for money damages for false advertising since plaintiff failed to
 25
 26
      offer evidence of actual damages; actual damages is an element of a false
 27
      advertising claim where plaintiff seeks damages).]
 28
      4851-6320-8706.1                            -74-
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  1            37.
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  6   [Disputed on the grounds that 15 U.S.C. § 1117 provides that monetary relief is for
  7   the purposes of "compensation and not a penalty," and that Plaintiffs are not entitled
  8   to a windfall. Again, Plaintiffs rely upon trademark cases, and ignore the absence of
  9   injury, in seeking profits.]
 10
               38.
 11
 12
                                            U-Haul Intern., Inc. v. Jartran, Inc., 793 F.2d
 13
      1034 (9th Cir. 1986).
 14
      [Plaintiffs now attempt to substitute a new theory of damage, not previously
 15
      articulated. Compare Pre-Trial Hearing, 10/16/07, 13:19-15:12 (counsel for
 16
      Plaintiffs articulates theory of damage based upon 10% of Defendants profits in CA
 17
      TX and FL for traffic school and driver's ed, after expenses, for the period November
 18
      2006 to trial); and see Fed. R. Civ. P. 26(a)(1)(C) (must disclose computation of
 19
      damages). Even this articulated theory suffers from serious defects in proof of
 20
      injury, and, there is no evidence that Plaintiffs even occupy ten percent of the market
 21
      in these states. 11/7 TT 11:15-12:2, 13:6-17:4; Defendants’ Second RJN No.1.]
 22
 23            39.
 24
 25
 26    Lindy Pen Co. v. Bic Pen, Inc., 982 F.2d 1400, 1408 (9th Cir. 1993)
 27   [Again, this new damage theory is improper. See Defendants’ Statement of Dispute
 28   to Legal Conclusion No. 38.]
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  1            40.
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  7
      Disputed on the grounds that U-Haul involved a willful and predatory false
  8
      comparative advertising campaign directed against plaintiff specifically.
  9
      Additionally, in most false advertising cases, courts do take into account the more
 10
      diffuse nature of the injury and regularly deny awards of profits, likely in
 11
      compliance with the statutory mandate that any award be "compensation and not a
 12
      penalty." 15 U.S.C. section 1117. Balance Dynamics Corp. v Schmitt Indus., 204
 13
      F.3d 683 (6th Cir. 2000) (in case involving claim of false advertising, plaintiff
 14
      cannot recover defendants profits where plaintiff has no proof of damages to its
 15
      business; to recover damage to goodwill or disgorgement of profits, plaintiff must
 16
      show at least some damage in marketplace); Burndy Corp. v Teledyne Industries,
 17
      Inc., 748 F2d 767 (2nd Cir. 1984) (district court properly denied accounting of
 18
      profits since evidence indicated that the alleged injury to plaintiffs was the result of
 19
      other factors, rather than false advertising claims).]
 20
               41.
 21
 22
 23
                                                                      Id. at 1042.
 24
 25   [For the reasons stated above, this new theory of damages is untimely. It would also

 26   constitute an improper windfall to Plaintiffs violating the statutory mandate that any

 27   award be “compensation and not a penalty.” 15 U.S.C. § 1117.]

 28            42.
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  4                      See Lindy Pen Co., Inc. v. Bic Pen Corp. 982 F.2d 1400, 1406
  5   (collecting cases and noting that deliberate infringement has been described in many
  6   different ways).
  7
  8
  9
 10
 11
 12

 13
      [There is no evidence that Online Guru, or any other defendant, has acted
 14
      intentionally to deceive the public with the DMV.ORG website. To the contrary, the
 15
      DMV.ORG website has always had disclaimers on every page and clarifying
 16
      language (compare Plaintiffs' own sites and other similar sites in the marketplace);
 17
      and, the website has added further conspicuous disclaimers which have not affected
 18
      traffic or profits, undermining any suggestion that DMV.ORG depends or has
 19
      depended in past upon confusion for its success. Any significant sanction or
 20
      punishment would be unjust.]
 21
               43.
 22
 23
 24
 25
                                                           Invision Media Services, Inc. v. Glen J.
 26
      Lerner, 175 Fed.Appx. 904 (9th Cir. 2006), quoting Lindy Pen Co. , 982 F.2d at 1409.
 27

 28
      4851-6320-8706.1                              -77-
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  2   [Despite Plaintiffs' hyperbole, this case is simply not an exceptional case given the
  3   fact that the website has never contained any express claim of affiliation, has always
  4   had disclaimers on every page, and has always had clarifying language. There is
  5   simply no evidence of malicious, fraudulent, deliberate or willful misconduct by
  6   Online Guru in this case.]

                         Legal Conclusions Regarding Remedies: B&P Code § 17200 et seq
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               F.
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               44.
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 18
 19   [In addition to the absence of proof of the claim itself, an attorneys' fees award

 20   under California law would be improper because there is no evidence of any benefit

 21   to the public in this case. DMV.ORG has added additional conspicuous and

 22   redundant disclaimers beyond what any cited case has required with no effect upon

 23   traffic to the site or advertising revenue. These facts establish what common sense

 24   already indicates, namely that people searching the Internet want to find

 25   information; because DMV.ORG offers information in an organized and accessible

 26   way, people visit the site.]

 27            45.
 28
      4851-6320-8706.1                           -78-
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  2
      [Plaintiffs ignore the standing requirements under Cal. Bus. & Prof. Code section
  3
      17204, which specifically require both injury in fact and resulting loss of money or
  4
      property. Plaintiffs have failed to carry their burden to establish either standing
  5
      prong. For the same additional reasons that Plaintiffs' Lanham Act claims fail
  6
      (failure to prove confusion, failure to prove materiality), Plaintiffs' 17500 claim also
  7
      fails.]
  8
      DATED: November 16, 2007 Respectfully submitted,
  9
 10                                     LEWIS BRISBOIS BISGAARD & SMITH LLP

 11                                     By    ___________________________________
 12
                                              DAVID N. MAKOUS
                                              DANIEL C. DECARLO
 13                                           MINA I. HAMILTON
 14
                                              Attorneys for Plaintiffs
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